Case 1:21-cv-06958-WFK-JRC Document 10 Filed 03/29/22 Page 1 of 1 PageID #: 43
                                                                                      Edward C. Wipper
                                                                                           17 State Street
                                                                                              Suite 4000
                                                                                   New York, NY 10004
                                                                               Direct Dial: 646.593.7051
                                                                              ewipper@beneschlaw.com

                                                  March 29, 2022
VIA ECF
Hon. William F. Kuntz, II
United States District Judge
United States District Court for the
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     Tania Galarza v. SmileDirectClub, LLC, HealthCare Finance Direct, LLC,
               Periodontal Specialists, Inc., and Eric Guirguis, D.D.S. Civil Action No. 1:21-cv-
               06958 (WFK)(JRC)

Dear Judge Kuntz:

        We represent Defendants SmileDirectClub, LLC (“SDC”), HealthCare Finance Direct,
LLC (“HFD”), Periodontal Specialists, Inc. (“PSI”), and Eric Guirguis, D.D.S. (“Dr. Guirguis”)
(collectively “Defendants”) in the above-referenced lawsuit. We write to provide the Court with a
status update, and on consent of all parties, to respectfully request that the Court “so-order” the
parties’ agreed upon extension of the deadline for Defendants to move, answer, or otherwise
respond to the Complaint to April 8, 2022.

        As the Court may recall, Defendants removed this action from the New York Supreme
Court, Kings County on December 17, 2021 (Dkt. 1). At the time, Plaintiff had not yet served
Defendants. Following removal, the parties agreed that Defendants would respond to the
Complaint by January 28, 2022. Defendants advised Plaintiff that they planned to file a motion to
compel arbitration and/or dismiss Defendant HFD from the lawsuit (should the Court not compel
arbitration against all Defendants). Shortly before the January 28 deadline, counsel for the parties
began discussing the potential for early resolution and agreed to extend Defendants’ deadline to
respond to the Complaint to March 29, 2022 (Dkt. 6). The Court so-ordered the extension on
February 2, 2022 (Dkt. 8).

       The parties are still discussing the early resolution of this case. In light of those
conversations, the parties have now agreed that Defendants have until and including April 8, 2022
to answer, move, or otherwise respond to the Complaint. As before, the purpose of this brief ten-
day extension is to enable the parties to continue to explore resolution of this case without further
motion practice. We thank the Court for its time and attention to this matter.

                                                  Sincerely,

                                                  BENESCH, FRIEDLANDER,
                                                   COPLAN & ARONOFF LLP

                                                  /s/ Edward C. Wipper
                                                  Edward C. Wipper

cc: James Lutfy, Esq. (via ECF)
                                       www.beneschlaw.com
